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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

LEE HUTCHINS, SR.,

— CIVIL ACTION NO. 3:16-cv-30008
Plaintiff,

DANIEL J. MCKAY, FELIX M.
ROMERO, THOMAS HERVIEUX, and
THE CITY OF SPRINGFIELD

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Defendants

 

 

JOINT MOTION TO VACATE JUDGMENT PURSUANT TO
FED.R.CIV.P. 60(b)

 

NOW come Defendants, Daniel J. McKay, Felix M. Romero, Thomas Hervieux and the
City of Springfield and Plaintiff, Lee Hutchins Sr. and petition this Court, pursuant to Fed. R.
Civ. P 60(b), to vacate the Judgment entered in the above captioned matter on February 19, 2019.
As reasons therefore, the parties state:
1. On February 19, 2019 this Court entered Judgment for the Plaintiff in the amount of
two hundred fifty thousand dollars ($250,000.00).
2. On May 8, 2019 the Parties participated in mediation before the Honorable Judge
King.
3. On May 8, 2019, the Parties reached a settlement agreement.
4. Asacondition of the settlement, the Parties agreed that the February 19, 2019

judgment would be vacated upon court approval.
